299 F.2d 792
    Eugen HIRSCH, Plaintiff-Appellant,v.ARCHER-DANIELS-MIDLAND COMPANY, Defendant-Appellee.
    No. 245, Docket 27302.
    United States Court of Appeals Second Circuit.
    Argued Feb. 20, 1962.Decided March 6, 1962.
    
      Eugen Hirsch, pro se.
      Edward J. Reilly, Jr., New York City (Milbank, Tweed, Hope &amp; Hadley), New York City, for defendant-appellee.
      Before MOORE, FRIENDLY and MARSHALL, Circuit Judges.
      PER CURIAM.
    
    
      1
      After reversal of a dismissal on motion because of an earlier settlement agreement which plaintiff challenged as obtained by misrepresentation, 258 F.2d 44 (2 Cir.1958), a mistrial, and reversal of a direction of a defendant's verdict, 288 F.2d 685 (2 Cir.1961), all in proceedings before other judges below, plaintiff has now had the jury determination to which we have twice held him to be entitled.  The jury found that his challenge to the settlement was unfounded.  Plaintiff, who acted pro se, offered no objection to the charge, and we find no error in the conduct of the trial.  Plaintiff's attacks upon the integrity of the court reporters and others are incredible and ought not have been made.
    
    
      2
      Affirmed.
    
    